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            EXHIBIT A
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                            UNITED STATES DEPARTMENT OF EDUCATION
                                     OFFICE FOR CIVIL RIGHTS

                                                                        THE ACTING ASSISTANT SECRETARY


                                                  February 14, 2025


Dear Colleague:

Discrimination on the basis of race, color, or national origin is illegal and morally
reprehensible. Accordingly, I write to clarify and reaffirm the nondiscrimination
obligations of schools and other entities that receive federal financial assistance from
the United States Department of Education (Department). 1 This letter explains and
reiterates existing legal requirements under Title VI of the Civil Rights Act of 1964, 2 the
Equal Protection Clause of the United States Constitution, and other relevant
authorities. 3
In recent years, American educational institutions have discriminated against students
on the basis of race, including white and Asian students, many of whom come from
disadvantaged backgrounds and low-income families. These institutions’ embrace of
pervasive and repugnant race-based preferences and other forms of racial discrimination
have emanated throughout every facet of academia. For example, colleges, universities,
and K-12 schools have routinely used race as a factor in admissions, financial aid, hiring,
training, and other institutional programming. In a shameful echo of a darker period in
this country’s history, many American schools and universities even encourage
segregation by race at graduation ceremonies and in dormitories and other facilities.



1 Throughout this letter, “school” is used generally to refer to preschool, elementary, secondary,

and postsecondary educational institutions that receive federal financial assistance from the
Department.
2 Title VI provides that: “No person in the United States shall, on the ground of race, color, or

national origin, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving Federal financial assistance.” 42 U.S.C.
§ 2000d, et seq.; 34 C.F.R. § 100, et seq.
3 This document provides significant guidance under the Office of Management and Budget’s

Final Bulletin for Agency Good Guidance Practices, 72 Fed. Reg. 3432 (Jan. 25, 2007). This
guidance does not have the force and effect of law and does not bind the public or create new
legal standards. This document is designed to provide clarity to the public regarding existing
legal requirements under Title VI, the Equal Protection Clause, and other federal civil rights
and constitutional law principles. If you are interested in commenting on this guidance, please
email your comment to OCR@ed.gov or write to the following address: Office for Civil Rights,
U.S. Department of Education, 400 Maryland Avenue, S.W., Washington, D.C. 20202. For
further information about the Department’s guidance processes, please visit the Department’s
webpage here.
                                400 MARYLAND AVE. S.W., WASHINGTON, DC 20202-1100
                                                   www.ed.gov

 The Department of Education’s mission is to promote student achievement and preparation for global competitiveness by fostering
                                     educational excellence and ensuring equal access.
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Educational institutions have toxically indoctrinated students with the false premise
that the United States is built upon “systemic and structural racism” and advanced
discriminatory policies and practices. Proponents of these discriminatory practices have
attempted to further justify them—particularly during the last four years—under the
banner of “diversity, equity, and inclusion” (“DEI”), smuggling racial stereotypes and
explicit race-consciousness into everyday training, programming, and discipline.
But under any banner, discrimination on the basis of race, color, or national origin is,
has been, and will continue to be illegal.
The Supreme Court’s 2023 decision in Students for Fair Admissions v. Harvard 4 (SFFA),
which clarified that the use of racial preferences in college admissions is unlawful, sets
forth a framework for evaluating the use of race by state actors and entities covered by
Title VI. The Court explained that “[c]lassifying and assigning students based on their
race” is lawful only if it satisfies “strict scrutiny,” which means that any use of race must
be narrowly tailored—that is, “necessary”—to achieve a compelling interest. 5 To date,
the Supreme Court has recognized only two interests as compelling in the context of
race-based action: (1) “remediating specific, identified instances of past discrimination
that violated the Constitution or a statute”; and (2) “avoiding imminent and serious risks
to human safety in prisons, such as a race riot.” 6 Nebulous concepts like racial balancing
and diversity are not compelling interests. As the Court explained in SFFA, “an
individual’s race may never be used against him” and “may not operate as a stereotype”
in governmental decision-making. 7
Although SFFA addressed admissions decisions, the Supreme Court’s holding applies
more broadly. At its core, the test is simple: If an educational institution treats a person
of one race differently than it treats another person because of that person’s race, the
educational institution violates the law. Federal law thus prohibits covered entities from
using race in decisions pertaining to admissions, hiring, promotion, compensation,
financial aid, scholarships, prizes, administrative support, discipline, housing,
graduation ceremonies, and all other aspects of student, academic, and campus life. Put
simply, educational institutions may neither separate or segregate students based on
race, nor distribute benefits or burdens based on race.
Although some programs may appear neutral on their face, a closer look reveals that
they are, in fact, motivated by racial considerations. 8 And race-based decision-making,
no matter the form, remains impermissible. For example, a school may not use students’
personal essays, writing samples, participation in extracurriculars, or other cues as a

4 Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181 (2023).
5 Id. at 207.
6 Ibid.
7 Id. at 218.
8 Village of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977).
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means of determining or predicting a student’s race and favoring or disfavoring such
students. 9
Relying on non-racial information as a proxy for race, and making decisions based on
that information, violates the law. That is true whether the proxies are used to grant
preferences on an individual basis or a systematic one. It would, for instance, be unlawful
for an educational institution to eliminate standardized testing to achieve a desired
racial balance or to increase racial diversity.
Other programs discriminate in less direct, but equally insidious, ways. DEI programs,
for example, frequently preference certain racial groups and teach students that certain
racial groups bear unique moral burdens that others do not. Such programs stigmatize
students who belong to particular racial groups based on crude racial stereotypes.
Consequently, they deny students the ability to participate fully in the life of a school.
The Department will no longer tolerate the overt and covert racial discrimination that
has become widespread in this Nation’s educational institutions. The law is clear:
treating students differently on the basis of race to achieve nebulous goals such as
diversity, racial balancing, social justice, or equity is illegal under controlling Supreme
Court precedent.
All students are entitled to a school environment free from discrimination. The
Department is committed to ensuring those principles are a reality.
This letter provides notice of the Department’s existing interpretation of federal law.
Additional legal guidance will follow in due course. The Department will vigorously
enforce the law on equal terms as to all preschool, elementary, secondary, and
postsecondary educational institutions, as well as state educational agencies, that
receive financial assistance.
The Department intends to take appropriate measures to assess compliance with the
applicable statutes and regulations based on the understanding embodied in this letter
beginning no later than 14 days from today’s date, including antidiscrimination
requirements that are a condition of receiving federal funding.
All educational institutions are advised to: (1) ensure that their policies and actions
comply with existing civil rights law; (2) cease all efforts to circumvent prohibitions on
the use of race by relying on proxies or other indirect means to accomplish such ends;
and (3) cease all reliance on third-party contractors, clearinghouses, or aggregators that
are being used by institutions in an effort to circumvent prohibited uses of race.




9 Students for Fair Admissions, 600 U.S. at 230 (“[U]niversities may not simply establish through

application essays or other means the regime we hold unlawful today.”).
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Institutions that fail to comply with federal civil rights law may, consistent with
applicable law, face potential loss of federal funding.
Anyone who believes that a covered entity has unlawfully discriminated may file a
complaint with OCR. Information about filing a complaint with OCR, including a link to
the online complaint form, is available here.
Thank you in advance for your commitment to providing our Nation’s students with an
educational environment that is free of race, color, or national origin discrimination.


Sincerely,

/s/
Craig Trainor
Acting Assistant Secretary for Civil Rights
United States Department of Education
